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LAW OFFICES

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Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square

New York, NY 10007

Re: United States v. Michael Avenatti
Case No. 19-cr-373-PGG

Dear Judge Gardephe:

A conference in this matter is scheduled for Thursday, August 22, 2019, at 3:15pm.
Mr. Avenatti and I will appear in person as directed. My co-counsel, Jose Quinon, must attend
to a medical appointment in Miami on the morning of August 22, 2019, so he will be unable
to appear in person at the conference. I am writing to inquire whether the Court would allow
Mr. Quinon to dial in to the conference by telephone so that he may also participate.

Thank you for your consideration of this request.

Respectfully,

AeA AA

Scott A. Srebnick

cc: AUSAs Podolsky/Sobelman/Richenthal
